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r"»r" -;.-_`,": agc-figs
LAToNYA R. sTEP"'ENS

Robert Irbyl CJA
Defense Attorney

4345 East Ma|lory Avenue
Memphis, TN 38111

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on May3, 2005. According|yl the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section Mns_e Offense Number(sl
Conc|uded
18 U.S.C. § 1344 and 2 Bank Fraud 10/31/2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 2 through 5 dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid .

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 01/31/1971 Ju|y 26, 2005
Deft’s U.S. Marshal No.: 19987-076

Defendant's Mailing Address:
2461 Bethlehem
Memphis, TN 38127

C
.».(7 ‘_
N PH|PPS MCCALLA
lTED ATES D|STR|CT JUDGE

Ju|y 2 b , 2005

 

This document entered on the docket sheet in com |lance
with Flu|e off and/or 32(b} FFlC;rP on _ fz'c)? z'é

 

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Case No: 2:04CR20424-01-Ml Defendant Name: Latonya R. STEPHENS Page 2 of 6
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 1 Month.

The Court recommends to the Bureau of Prisons: the Bureau of Prisons
consider allowing the defendant to serve her sentence of incarceration in a half-way house.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2;04CR20424-01-Ml Defendant Name: Latonya R. STEPHENS Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 ¥ears.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ofEcer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute. or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shaft not frequent places where controlled substances are illegally so|d, used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:04CR20424-01-Mi Defendant Name: Latonya R. STEPHENS Page 4 of 6

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law

enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| Monetary Penaities sheet of this judgmentl

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

reiease:

1. The defendant shall make full financial disclosure

2. The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit or making an obligation for any major purchase without the prior approval of the
Probation Office.

3. The defendant shall provide third-party risk notification.

4. The defendant shall cooperate with DNA collection as directed by the Probation Oche.

5. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Oche.

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Case No: 2:04CR20424-01-M| Defendant Name: Latonya R. STEPHENS Page 5 of 6
CRIM|NAL MONETARY PENALT|ES

_ The defendant shall paythe following total criminal monetary penalties in accordance
with _the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment. pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 

Total Assessment Total Fine *Totai Restitution
$100.00 *$13,698.00

The Specia| Assessment shall be due immediateiy.
FlNE
No fine imposed .
*REST|TUT|ON

Restitution in the amount of *§13,698.00 is hereby ordered. The defendant shaii
make restitution to the following victims in the amounts listed below.

Priority Order
Tota| Amount Amount of or Percentags
Name of Paj@e of Loss Restitution Ordered of Paj@ent

First Tennessee Bank, $13,698.00 $13,698.00
Attn: Sheiia Bramlitt,

re: Latonya Stephens Restitution

300 Court Avenue

Memphis, TN 38103

*Restitution is to be paid joint and several with co-defendant Derrick N. Thomas in

case 2:04CR20424-02-M|.

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same uniess,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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Case No: 2:04CR20424-01~M| Defendant Name: Latonya R. STEPHENS Page 6 of 6

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instn.ictions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Unless the court has expressly ordered othenivise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment Aii criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' inmate Financial Responsibility Program, are made to the clerk of the
court unless otherwise directed by the couit, the probation ocher, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UN11EDSTESATD1STR1CT COURT - WEERST DISTR1CT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:04-CR-20424 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

Memphis7 TN 38111

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

